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                                ATTACHMENT B
  List of docket numbers, with limited associated information, for applications for
       orders under 18 U.S.C. § 2703(d), filed by the Special Counsel's Office

          Case Number/Title               Dates                Category/ Event
1:17-mc-01608-BAH                  Entered:           Category: misc
*SEALED*                           07/07/2017         Event: Application for
APPLICATION OF THE                 10:23:56           Order pursuant to 18
UNITED STATES OF                   Filed:             U.S.C. 2703(d)
AMERICA FOR AN                     07/07/2017         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703 (D)
CASE CLOSED on
07/07/2017
                                   APPLICATION FOR ORDER pursuant to 18 U.S.C.
                                   2703(d) requiring
                                   Google to provide records and other information filed
                                   by UNITED
                                   STATES OF AMERICA. (Attachments: # 1 Text of
                                   Proposed Order)
1:17-mc-01988-BAH                  Entered:           Category: misc
*SEALED*                           08/15/2017         Event: Application for
APPLICATION OF THE                 10:47:23           Order pursuant to 18
UNITED STATES OF                   Filed:             U.S.C. 2703(d)
AMERICA FOR AN                     08/15/2017         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703 (D)
CASE CLOSED on
04/01/2019

                                   APPLICATION for Order pursuant to 18 U.S.C.
                                   2703(d) requiring AT&T to provide records and other
                                   information filed by UNITED STATES OF AMERICA.
                                   (Attachments: # 1 Text of Proposed Order)


1:17-mc-01989-BAH                  Entered:           Category: misc
*SEALED*                           08/15/2017         Event: Application for
APPLICATION OF THE                 10:48:26           Order pursuant to 18
UNITED STATES OF                   Filed:             U.S.C. 2703(d)
AMERICA FOR AN                     08/15/2017         Document: 1


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ORDER PURSUANT TO
18 U.S.C. 2703 (D)
CASE CLOSED on
04/01/2019
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring
                               Twitter, Inc. to provide records and other information
                               filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)
1:17-mc-01991-BAH              Entered:           Category: misc
*SEALED*                       08/15/2017         Event: Application for
APPLICATION OF THE             10:49:33           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 08/15/2017         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703 (D)
CASE CLOSED on 04/01/2019
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring Facebook, Inc. to provide records and
                               other information filed by UNITED STATES OF
                               AMERICA. (Attachments: # 1 Text of Proposed Order)
1:17-mc-02005-BAH              Entered:           Category: misc
*SEALED*                       08/16/2017         Event: Application for
APPLICATION OF THE             15:22:00           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 08/16/2017         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703 (D)
CASE CLOSED on
08/18/2017
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring
                               Google to provide records and other information filed
                               by UNITED
                               STATES OF AMERICA. (Attachments: # 1 Text of
                               Proposed Order)
1:17-mc-02036-BAH              Entered:           Category: misc
*SEALED*                       08/18/2017         Event: Application for
APPLICATION OF THE             10:30:49           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)


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AMERICA FOR AN                  08/18/2017        Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703 (D)
CASE CLOSED on
08/18/2017
                                APPLICATION for Order pursuant to 18 U.S.C.
                                2703(d) requiring
                                Network Solutions, LLC to provide records and other
                                information filed by UNITED STATES OF AMERICA.
                                (Attachments: # 1 Text of Proposed Order)

1:17-mc-02176-JEB               Entered:          Category: misc
*SEALED*                        09/05/2017        Event: Application for
APPLICATION OF                  9:26:25           Order pursuant to 18
THE UNITED                      Filed:            U.S.C. 2703(d)
STATES OF                       09/01/2017        Document: 1
AMERICA FOR AN
ORDER
PURSUANT TO 18
U.S.C. 2703 (D)
CASE CLOSED on
09/01/2017

                                APPLICATION for Order pursuant to 18 U.S.C.
                                2703(d) requiring Radical
                                App, LLC to provide records and other information
                                filed by UNITED
                                STATES OF AMERICA.
1:17-mc-02251-BAH               Entered:           Category: misc
*SEALED*                        09/11/2017         Event: Application for
APPLICATION OF THE              15:02:46           Order pursuant to 18
UNITED STATES OF                Filed:             U.S.C. 2703(d)
AMERICA FOR AN                  09/11/2017         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on 09/12/2017




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                                APPLICATION for Order pursuant to 18 U.S.C.
                                2703(d) requiring AT&T to provide records and other
                                information filed by UNITED STATES OF AMERICA.
                                (Attachments: # 1 Text of Proposed Order)


1:17-mc-02305-BAH               Entered:          Category: misc
*SEALED*                        09/15/2017        Event: Application for
APPLICATION OF THE              14:27:44          Order pursuant to 18
UNITED STATES OF                Filed:            U.S.C. 2703(d)
AMERICA FOR AN                  09/15/2017        Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
09/15/2017
                                APPLICATION for Order pursuant to 18 U.S.C.
                                2703(d) requiring AT&T to provide records and other
                                information filed by UNITED STATES OF AMERICA.
                                (Attachments: # 1 Text of Proposed Order)


1:17-mc-02325-BAH               Entered:          Category: misc
*SEALED*                        09/19/2017        Event: Application for
APPLICATION OF THE              9:23:04           Order pursuant to 18
UNITED STATES OF                Filed:            U.S.C. 2703(d)
AMERICA FOR AN                  09/19/2017        Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
09/19/2017
                                APPLICATION for Order pursuant to 18 U.S.C.
                                2703(d) requiring Google to provide records and other
                                information filed by UNITED STATES OF AMERICA.
                                (Attachments: # 1 Text of Proposed Order)


1:17-mc-02326-BAH               Entered:          Category: misc
*SEALED*                        09/19/2017        Event: Application for
APPLICATION OF THE              9:24:11           Order pursuant to 18
UNITED STATES OF                Filed:            U.S.C. 2703(d)
AMERICA FOR AN                  09/19/2017        Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)

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CASE CLOSED on
09/19/2017
                                APPLICATION for Order pursuant to 18 U.S.C.
                                2703(d) requiring Microsoft to provide records and
                                other information filed by UNITED STATES OF
                                AMERICA. (Attachments: # 1 Text of Proposed Order)

1:17-mc-02512-BAH               Entered:           Category: misc
*SEALED*                        10/06/2017         Event: Application for
APPLICATION OF THE              11:06:31           Order pursuant to 18
UNITED STATES OF                Filed:             U.S.C. 2703(d)
AMERICA FOR AN                  10/06/2017         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
10/06/2017
                                APPLICATION for Order pursuant to 18 U.S.C.
                                2703(d) requiring records and other information to be
                                provided filed by UNITED STATES OF AMERICA.
                                (Attachments: # 1 Text of Proposed Order)


1:17-mc-02513-BAH               Entered:           Category: misc
*SEALED*                        10/06/2017         Event: Application for
APPLICATION OF THE              11:07:27           Order pursuant to 18
UNITED STATES OF                Filed:             U.S.C. 2703(d)
AMERICA FOR AN                  10/06/2017         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
10/06/2017
                                APPLICATION for Order pursuant to 18 U.S.C.
                                2703(d) requiring records and other information to be
                                provided filed by UNITED STATES OF AMERICA.
                                (Attachments: # 1 Text of Proposed Order)

1:17-mc-02526-BAH               Entered:           Category: misc
*SEALED*                        10/06/2017         Event: Application for
APPLICATION OF THE              14:46:02           Order pursuant to 18
UNITED STATES OF                Filed:             U.S.C. 2703(d)
AMERICA FOR AN                  10/06/2017         Document: 1
ORDER PURSUANT TO

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18 U.S.C. 2703(D)
CASE CLOSED on
10/06/2017
                                APPLICATION for Order pursuant to 18 U.S.C.
                                2703(d) requiring
                                records and other information to be provided filed by
                                UNITED STATES OF AMERICA. (Attachments: # 1
                                Text of Proposed Order)
1:17-mc-02646-BAH               Entered:           Category: misc
*SEALED*                        10/17/2017         Event: Application for
APPLICATION OF THE              13:43:42           Order pursuant to 18
UNITED STATES OF                Filed:             U.S.C. 2703(d)
AMERICA FOR AN                  10/17/2017         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
10/17/2017
                                APPLICATION for Order pursuant to 18 U.S.C.
                                2703(d) requiring records and other information to be
                                provided filed by UNITED STATES OF AMERICA.
                                (Attachments: # 1 Text of Proposed Order)


1:17-mc-02662-BAH               Entered:           Category: misc
*SEALED*                        10/18/2017         Event: Application for
APPLICATION OF THE              13:22:50           Order pursuant to 18
UNITED STATES OF                Filed:             U.S.C. 2703(d)
AMERICA FOR AN                  10/18/2017         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
10/19/2017
                                APPLICATION for Order pursuant to 18 U.S.C.
                                2703(d) requiring records and other information to be
                                provided filed by UNITED STATES OF AMERICA.
                                (Attachments: # 1 Text of Proposed Order)

1:17-mc-02691-BAH               Entered:           Category: misc
*SEALED*                        10/20/2017         Event: Application for
APPLICATION OF THE              13:42:57           Order pursuant to 18
UNITED STATES OF                Filed:             U.S.C. 2703(d)
AMERICA FOR AN                  10/20/2017         Document: 1


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ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
12/01/2017
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)

1:17-mc-02703-BAH              Entered:           Category: misc
*SEALED*                       10/23/2017         Event: Application for
APPLICATION OF THE             15:26:58           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 10/23/2017         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
04/01/2019
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)


1:17-mc-02704-BAH              Entered:           Category: misc
*SEALED*                       10/23/2017         Event: Application for
APPLICATION OF THE             14:04:28           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 10/23/2017         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
10/24/2017

                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)

1:17-mc-02705-BAH              Entered:           Category: misc
*SEALED*                       10/23/2017         Event: Application for
APPLICATION OF THE             15:10:55           Order pursuant to 18


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UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                10/23/2017         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
10/23/2017
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:17-mc-02731-BAH             Entered:           Category: misc
*SEALED*                      10/25/2017         Event: Application for
APPLICATION OF THE            14:27:53           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                10/25/2017         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
04/01/2019
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order, # 2 Text of
                              Proposed Order, # 3 Text of Proposed Order, # 4 Text
                              of Proposed Order, # 5 Text of Proposed Order, # 6
                              Text of Proposed Order)


1:17-mc-02869-BAH             Entered:           Category: misc
*SEALED*                      11/02/2017         Event: Application for
APPLICATION OF THE            17:19:30           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                11/02/2017         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
04/01/2019




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                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:17-mc-02908-BAH             Entered:           Category: misc
*SEALED*                      11/07/2017         Event: Application for
APPLICATION OF THE            12:18:16           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                11/07/2017         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
11/07/2017
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:17-mc-02961-BAH             Entered:           Category: misc
*SEALED*                      11/09/2017         Event: Application for
APPLICATION OF THE            14:51:23           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                11/09/2017         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
11/09/2017
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:17-mc-02970-BAH             Entered:           Category: misc
*SEALED*                      11/13/2017         Event: Application for
APPLICATION OF THE            17:55:47           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                11/13/2017         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)


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CASE CLOSED on
11/29/2017
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 and (2) Text of Proposed Orders)


1:17-mc-02971-BAH              Entered:           Category: misc
*SEALED*                       11/13/2017         Event: Application for
APPLICATION OF THE             18:01:29           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 11/13/2017         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
11/15/2017
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachment: # 1 Text of Proposed Order)

1:17-mc-02972-BAH              Entered:           Category: misc
*SEALED*                       11/13/2017         Event: Application for
APPLICATION OF THE             17:59:25           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 11/13/2017         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
11/14/2017
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachment: # 1 Text of Proposed Order)

1:17-mc-03055-JEB              Entered:           Category: misc
*SEALED*                       11/17/2017         Event: Application for
APPLICATION OF                 12:16:38           Order pursuant to 18
THE UNITED                     Filed:             U.S.C. 2703(d)
STATES OF                      11/17/2017         Document: 1
AMERICA FOR AN


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ORDER
PURSUANT TO 18
U.S.C. 2703(D)
CASE CLOSED on
04/01/2019


                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records
                               and other information to be provided filed by UNITED
                               STATES OF
                               AMERICA. (Attachment: # 1 Text of Proposed Order)
1:17-mc-03056-JEB              Entered:        Category: misc
*SEALED*                       11/17/2017      Event: Application for
APPLICATION OF                 12:23:27        Order pursuant to 18
THE UNITED                     Filed:          U.S.C. 2703(d)
STATES OF                      11/17/2017      Document: 1
AMERICA FOR AN
ORDER
PURSUANT TO 18
U.S.C. 2703(D)
CASE CLOSED on
11/17/2017

                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records
                               and other information to be provided filed by UNITED
                               STATES OF
                               AMERICA. (Attachment: # 1 Text of Proposed Order)


1:17-mc-03057-JEB              Entered:          Category: misc
*SEALED*                       11/17/2017        Event: Application for
APPLICATION OF                 12:19:23          Order pursuant to 18
THE UNITED                     Filed:            U.S.C. 2703(d)
STATES OF                      11/17/2017        Document: 1
AMERICA FOR AN
ORDER
PURSUANT TO 18
U.S.C. 2703(D)
CASE CLOSED on



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11/17/2017

                                APPLICATION for Order pursuant to 18 U.S.C.
                                2703(d) requiring records
                                and other information to be provided filed by UNITED
                                STATES OF
                                AMERICA. (Attachment: # 1 Text of Proposed Order)

1:17-mc-03058-JEB               Entered:           Category: misc
*SEALED*                        11/17/2017         Event: Application for
APPLICATION OF                  12:27:16           Order pursuant to 18
THE UNITED                      Filed:             U.S.C. 2703(d)
STATES OF                       11/17/2017         Document: 1
AMERICA FOR AN
ORDER
PURSUANT TO 18 U.S.C. 2703(D)
CASE CLOSED on 11/17/2017



                                APPLICATION for Order pursuant to 18 U.S.C.
                                2703(d) requiring records and other information to be
                                provided filed by UNITED STATES OF AMERICA.
                                (Attachment: # 1 Text of Proposed Order)


1:17-mc-03077-BAH               Entered:           Category: misc
*SEALED*                        11/21/2017         Event: Application for
APPLICATION OF THE              10:30:42           Order pursuant to 18
UNITED STATES OF                Filed:             U.S.C. 2703(d)
AMERICA FOR AN                  11/21/2017         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
11/21/2017
                                APPLICATION for Order pursuant to 18 U.S.C.
                                2703(d) requiring records and other information to be
                                provided filed by UNITED STATES OF AMERICA.
                                (Attachments: # 1 Text of Proposed Order)


1:17-mc-03082-BAH               Entered:           Category: misc
*SEALED*                        11/21/2017         Event: Application for



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APPLICATION OF THE              15:08:32           Order pursuant to 18
UNITED STATES OF                Filed:             U.S.C. 2703(d)
AMERICA FOR AN                  11/21/2017         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(d)
CASE CLOSED on
11/21/2017
                                APPLICATION for Order pursuant to 18 U.S.C.
                                2703(d) requiring records and other information to be
                                provided filed by UNITED STATES OF AMERICA.
                                (Attachments: # 1 Text of Proposed Order)


1:17-mc-03115-BAH               Entered:           Category: misc
*SEALED*                        11/27/2017         Event: Application for
APPLICATION OF THE              12:50:00           Order pursuant to 18
UNITED STATES OF                Filed:             U.S.C. 2703(d)
AMERICA FOR AN                  11/27/2017         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
11/27/2017
                                APPLICATION for Order pursuant to 18 U.S.C.
                                2703(d) requiring records and other information to be
                                provided filed by UNITED STATES OF AMERICA.
                                (Attachments: # 1 Text of Proposed Order)

1:17-mc-03147-BAH *SEALED*      Entered:           Category:
APPLICATION OF THE UNITED       11/29/2017         misc
STATES OF AMERICA FOR AN                           Event:
ORDER PURSUANT TO 18 U.S.C. 27 10:32:00            Application
03
(d)                            Filed:              for Order
CASE CLOSED on 11/29/2017      11/29/2017          pursuant to
                                                   18 U.S.C.
                                                   2705(b)
                                                   Document:
                                                   1




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                                APPLICATION for Order pursuant to 18 USC 2703(D)
                                filed by UNITED STATES OF AMERICA.
                                (Attachments: # 1 Text of Proposed Order)


1:17-mc-03161-BAH               Entered:           Category: misc
*SEALED*                        11/29/2017         Event: Application for
APPLICATION OF THE              16:07:53           Order pursuant to 18
UNITED STATES OF                Filed:             U.S.C. 2703(d)
AMERICA FOR AN                  11/29/2017         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
11/29/2017
                                APPLICATION for Order pursuant to 18 U.S.C.
                                2703(d) requiring records and other information to be
                                provided filed by UNITED STATES OF AMERICA.
                                (Attachments: # 1 Text of Proposed Order)

1:17-mc-03235-BAH               Entered:           Category: misc
*SEALED*                        12/06/2017         Event: Application for
APPLICATION OF THE              16:03:16           Order pursuant to 18
UNITED STATES OF                Filed:             U.S.C. 2703(d)
AMERICA FOR AN                  12/06/2017         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D) et al
CASE CLOSED on
12/06/2017
                                APPLICATION for Order pursuant to 18 U.S.C.
                                2703(d) requiring records and other information to be
                                provided filed by UNITED STATES OF AMERICA.
                                (Attachments: # 1 Text of Proposed Order)

1:17-mc-03236-BAH               Entered:           Category: misc
*SEALED*                        12/06/2017         Event: Application for
APPLICATION OF THE              16:03:16           Order pursuant to 18
UNITED STATES OF                Filed:             U.S.C. 2703(d)
AMERICA FOR AN                  12/06/2017         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D) et al
CASE CLOSED on


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12/06/2017
                                 APPLICATION for Order pursuant to 18 U.S.C.
                                 2703(d) requiring records and other information to be
                                 provided filed by UNITED STATES OF AMERICA.
                                 (Attachments: # 1 Text of Proposed Order)

1:17-mc-03261-BAH *SEALED*       Entered:           Category: misc Event: Application
APPLICATION OF THE UNITED        12/07/2017         for Order pursuant to 18 U.S.C.
STATES OF AMERICA FOR AN         16:48:29           2705(b)
ORDER PURSUANT TO 18 U.S.C. 27   Filed:             Document:
03                               12/07/2017         1
(d)                              APPLICATION for Order pursuant to 18 USC 2703(d)
                                 filed by UNITED STATES OF AMERICA.
                                 (Attachments: # 1 Text of Proposed Order) Modified on
                                 12/7/2017 .

1:17-mc-03287-BAH                Entered:           Category: misc
*SEALED*                         12/11/2017         Event: Application for
APPLICATION OF THE               16:01:41           Order pursuant to 18
UNITED STATES OF                 Filed:             U.S.C. 2703(d)
AMERICA FOR AN                   12/11/2017         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
12/12/2017
                                 APPLICATION for Order pursuant to 18 U.S.C.
                                 2703(d) requiring records and other information to be
                                 provided filed by UNITED STATES OF AMERICA.
                                 (Attachments: # 1 Text of Proposed Order)

1:17-mc-03288-BAH                Entered:           Category: misc
*SEALED*                         12/11/2017         Event: Application for
APPLICATION OF THE               16:01:41           Order pursuant to 18
UNITED STATES OF                 Filed:             U.S.C. 2703(d)
AMERICA FOR AN                   12/11/2017         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on 12/12/2017




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                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)

1:17-mc-03290-BAH             Entered:           Category: misc
*SEALED*                      12/11/2017         Event: Application for
APPLICATION OF THE            16:01:41           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                12/11/2017         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
12/12/2017




                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)

1:17-mc-03386-BAH             Entered:           Category: misc
*SEALED*                      12/19/2017         Event: Application for
APPLICATION OF THE            16:22:15           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                12/19/2017         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(d)
CASE CLOSED on
12/20/2017
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:17-mc-03453-KBJ             Entered:           Category: misc
*SEALED*                      12/27/2017         Event: Application for
APPLICATION OF THE            14:14:09           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)

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AMERICA FOR AN                 12/27/2017         Document: 1
ORDER PURSUANT TO 18
U.S.C. 2703(D)
CASE CLOSED on 12/28/2017




                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachment: # 1 Text of Proposed Order)


1:18-sc-00005-BAH              Entered:           Category: misc
*SEALED*                       01/05/2018         Event: Application for
APPLICATION OF THE             13:52:30           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 01/02/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on 01/03/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.

1:18-sc-00006-BAH              Entered:           Category: misc
*SEALED*                       01/05/2018         Event: Application for
APPLICATION OF THE             15:02:58           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 01/02/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
01/03/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.


1:18-sc-00007-BAH              Entered:           Category: misc



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*SEALED*                      01/05/2018         Event: Application for
APPLICATION OF THE            15:07:41           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                01/02/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
01/03/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.

1:18-sc-00038-BAH             Entered:           Category: misc
*SEALED*                      01/05/2018         Event: Application for
APPLICATION OF THE            16:18:01           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                01/05/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
01/05/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)

1:18-sc-00050-BAH             Entered:           Category: misc
*SEALED*                      01/09/2018         Event: Application for
APPLICATION OF THE            10:17:27           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                01/09/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
01/11/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order, # 2 Text of
                              Proposed Order, # 3 Text of Proposed Order)




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1:18-sc-00067-BAH             Entered:           Category: misc
*SEALED*                      01/10/2018         Event: Application for
APPLICATION OF THE            16:18:35           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                01/10/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
01/11/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)

1:18-sc-00081-BAH             Entered:           Category: misc
*SEALED*                      01/11/2018         Event: Application for
APPLICATION OF THE            17:21:46           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                01/11/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
01/16/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)

1:18-sc-00113-BAH             Entered:           Category: misc
*SEALED*                      01/17/2018         Event: Application for
APPLICATION OF THE            11:10:38           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                01/17/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
01/17/2018




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                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-00115-BAH             Entered:           Category: misc
*SEALED*                      01/17/2018         Event: Application for
APPLICATION OF THE            14:44:07           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                01/17/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
01/17/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-00164-BAH             Entered:           Category: misc
*SEALED*                      01/23/2018         Event: Application for
APPLICATION OF THE            12:41:23           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                01/23/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
01/23/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-00198-BAH             Entered:           Category: misc
*SEALED*                      01/25/2018         Event: Application for
APPLICATION OF THE            12:24:51           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                01/25/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on

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01/25/2018
                                APPLICATION for Order pursuant to 18 U.S.C.
                                2703(d) requiring records and other information to be
                                provided filed by UNITED STATES OF AMERICA.
                                (Attachments: # 1 Text of Proposed Order)


1:18-sc-00277-BAH               Entered:           Category: misc
*SEALED*                        02/05/2018         Event: Application for
APPLICATION OF THE              11:31:30           Order pursuant to 18
UNITED STATES OF                Filed:             U.S.C. 2703(d)
AMERICA FOR AN                  02/05/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
02/05/2018
                                APPLICATION for Order pursuant to 18 U.S.C.
                                2703(d) requiring records and other information to be
                                provided filed by UNITED STATES OF AMERICA.
                                (Attachments: # 1 Text of Proposed Order)


1:18-sc-00310-BAH               Entered:           Category: misc
*SEALED*                        02/07/2018         Event: Application for
APPLICATION OF THE              13:48:00           Order pursuant to 18
UNITED STATES OF                Filed:             U.S.C. 2703(d)
AMERICA FOR AN                  02/07/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
02/07/2018
                                APPLICATION for Order pursuant to 18 U.S.C.
                                2703(d) requiring records and other information to be
                                provided filed by UNITED STATES OF AMERICA.
                                (Attachments: # 1 Text of Proposed Order, # 2 Text of
                                Proposed Order, # 3 Text of Proposed Order, # 4 Text
                                of Proposed Order, # 5 Text of Proposed Order, # 6
                                Text of Proposed Order, # 7 Text of Proposed Order, #
                                8 Text of Proposed Order)


1:18-sc-00331-BAH               Entered:           Category: misc
*SEALED*                        02/09/2018         Event: Application for
APPLICATION OF THE              14:06:03           Order pursuant to 18


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UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 02/09/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
02/09/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)


1:18-sc-00356-BAH              Entered:           Category: misc
*SEALED*                       02/13/2018         Event: Application for
APPLICATION OF THE             10:15:54           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 02/13/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
02/13/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)


1:18-sc-00357-BAH              Entered:           Category: misc
*SEALED*                       02/13/2018         Event: Application for
APPLICATION OF THE             10:17:11           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 02/13/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
02/13/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)


1:18-sc-00419-BAH              Entered:           Category: misc
*SEALED*                       02/20/2018         Event: Application for


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APPLICATION OF THE             14:51:28           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 02/20/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on 02/20/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF
                               AMERICA.OF AMERICA. (Attachments: # 1 Text of
                               Proposed Order, # 2 Text of Proposed Order, # 3 Text
                               of Proposed Order, # 4 Text of Proposed (Attachments:
                               # 1 Text of Proposed Order)
1:18-sc-00432-BAH              Entered:           Category: misc
*SEALED*                       02/21/2018         Event: Application for
APPLICATION OF THE             12:20:46           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 02/21/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on 02/21/2018

                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order, # 2 Text of
                               Proposed Order)
1:18-sc-00522-BAH              Entered:           Category: misc
*SEALED*                       03/01/2018         Event: Application for
APPLICATION OF THE             15:36:58           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 03/01/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
03/02/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)



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1:18-sc-00524-BAH              Entered:           Category: misc
*SEALED*                       03/01/2018         Event: Application for
APPLICATION OF THE             15:36:01           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 03/01/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on 03/02/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)

1:18-sc-00525-BAH              Entered:           Category: misc
*SEALED*                       03/01/2018         Event: Application for
APPLICATION OF THE             15:35:03           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 03/01/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on 03/02/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)


1:18-sc-00526-BAH              Entered:           Category: misc
*SEALED*                       03/01/2018         Event: Application for
APPLICATION OF THE             15:34:07           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 03/01/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
03/02/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)

1:18-sc-00527-BAH              Entered:           Category: misc


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*SEALED*                       03/01/2018         Event: Application for
APPLICATION OF THE             15:33:10           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 03/01/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
03/02/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiringrecords and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)

1:18-sc-00528-BAH              Entered:           Category: misc
*SEALED*                       03/01/2018         Event: Application for
APPLICATION OF THE             15:32:11           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 03/01/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on 03/02/2018

                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)


1:18-sc-00529-BAH              Entered:           Category: misc
*SEALED*                       03/01/2018         Event: Application for
APPLICATION OF THE             15:30:58           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 03/01/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
03/02/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)




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1:18-sc-00530-BAH             Entered:           Category: misc
*SEALED*                      03/01/2018         Event: Application for
APPLICATION OF THE            15:29:39           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                03/01/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
03/02/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-00567-BAH             Entered:           Category: misc
*SEALED*                      03/05/2018         Event: Application for
APPLICATION OF THE            16:07:46           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                03/05/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
03/05/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order Att A -
                              Amazon, # 2 Text of Proposed Order Att B - Apple, # 3
                              Text of Proposed Order Att C - Endurance Int'l Group,
                              # 4 Text of Proposed Order Att D - Google, # 5 Text of
                              Proposed Order Att E - LinkedIn, # 6 Text of Proposed
                              Order Att F - Microsoft, # 7 Text of Proposed Order Att
                              G - Twitter, # 8 Text of Proposed Order Att H - Yahoo,
                              # 9 Text of Proposed Order Att I - CenturyLink)



1:18-sc-00573-BAH             Entered:           Category: misc
*SEALED*                      03/06/2018         Event: Application for
APPLICATION OF THE            12:11:09           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                03/06/2018         Document: 1


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ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
03/06/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-00752-BAH             Entered:           Category: misc
*SEALED*                      03/19/2018         Event: Application for
APPLICATION OF THE            15:56:20           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                03/19/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
03/20/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-00753-BAH             Entered:           Category: misc
*SEALED*                      03/19/2018         Event: Application for
APPLICATION OF THE            15:59:34           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                03/19/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
03/20/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-00754-BAH             Entered:           Category: misc
*SEALED*                      03/19/2018         Event: Application for
APPLICATION OF THE            16:01:59           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)


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AMERICA FOR AN                03/19/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
03/20/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-00755-BAH             Entered:           Category: misc
*SEALED*                      03/19/2018         Event: Application for
APPLICATION OF THE            16:04:17           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                03/19/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
03/20/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-00768-BAH             Entered:           Category: misc
*SEALED*                      03/20/2018         Event: Application for
APPLICATION OF THE            10:01:54           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                03/20/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
03/20/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-00812-BAH             Entered:           Category: misc
*SEALED*                      03/26/2018         Event: Application for
APPLICATION OF THE            16:06:10           Order pursuant to 18


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UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 03/26/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
03/26/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachment: # 1 Text of Proposed Order)


1:18-sc-00920-BAH              Entered:           Category: misc
*SEALED*                       03/29/2018         Event: Application for
APPLICATION OF THE             15:06:21           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 03/29/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
03/29/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachment: # 1 Text of Proposed Order)

1:18-sc-00921-BAH              Entered:           Category: misc
*SEALED*                       03/29/2018         Event: Application for
APPLICATION OF THE             15:11:16           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 03/29/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
03/29/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachment: # 1 Text of Proposed Order)




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1:18-sc-00922-BAH *SEALED*      Entered:           Category: misc Event: Application
APPLICATION OF THE UNITED STA   03/29/2018         for
TES OF AMERICA                  15:08:52           Search/Seizure Warrant- 18
FOR AN ORDER PURSUANT TO 18     Filed:             U.S.C. 2703 (a), 2703(b)(1) (A), and
U.S.C. 2703(D) CASE CLOSED on   03/29/2018         2703 (c)(1)(A) Document:
03/29/2018                                         1

                                APPLICATION for Search/Seizure Warrant by USA
                                pursuant to 18 U.S.C 2703(a) & (b) filed by UNITED
                                STATES OF AMERICA. (Attachment: # 1 Text of
                                Proposed Order)


1:18-sc-00925-BAH               Entered:           Category: misc
*SEALED*                        03/30/2018         Event: Application for
APPLICATION OF THE              11:21:55           Order pursuant to 18
UNITED STATES OF                Filed:             U.S.C. 2703(d)
AMERICA FOR AN                  03/30/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
03/30/2018
                                APPLICATION for Order pursuant to 18 U.S.C.
                                2703(d) requiring records and other information to be
                                provided filed by UNITED STATES OF AMERICA.
                                (Attachment: # 1 Text of Proposed Order)


1:18-sc-00926-BAH               Entered:           Category: misc
*SEALED*                        03/30/2018         Event: Application for
APPLICATION OF THE              11:25:15           Order pursuant to 18
UNITED STATES OF                Filed:             U.S.C. 2703(d)
AMERICA FOR AN                  03/30/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
03/30/2018
                                APPLICATION for Order pursuant to 18 U.S.C.
                                2703(d) requiring records and other information to be
                                provided filed by UNITED STATES OF AMERICA.
                                (Attachment: # 1 Text of Proposed Order)


1:18-sc-00947-BAH               Entered:           Category: misc



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       Case 1:19-mc-00058-BAH Document 18-2 Filed 06/24/19 Page 31 of 65


*SEALED*                      03/30/2018         Event: Application for
APPLICATION OF THE            15:55:45           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                03/30/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
04/06/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachment: # 1 Text of Proposed Order)


1:18-sc-00983-BAH             Entered:           Category: misc
*SEALED*                      04/03/2018         Event: Application for
APPLICATION OF THE            15:27:48           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                04/03/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
07/26/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)

1:18-sc-01018-BAH             Entered:           Category: misc
*SEALED*                      04/04/2018         Event: Application for
APPLICATION OF THE            14:03:47           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                04/04/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on

                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)




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1:18-sc-01052-BAH             Entered:           Category: misc
*SEALED*                      04/06/2018         Event: Application for
APPLICATION OF THE            16:29:07           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                04/06/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
04/09/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-01058-BAH             Entered:           Category: misc
*SEALED*                      04/09/2018         Event: Application for
APPLICATION OF THE            13:22:41           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                04/09/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
04/09/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)

1:18-sc-01059-BAH             Entered:           Category: misc
*SEALED*                      04/09/2018         Event: Application for
APPLICATION OF THE            13:20:44           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                04/09/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
04/09/2018




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                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)


1:18-sc-01060-BAH              Entered:           Category: misc
*SEALED*                       04/09/2018         Event: Application for
APPLICATION OF THE             13:18:16           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 04/09/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
04/09/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)


1:18-sc-01061-BAH              Entered:           Category: misc
*SEALED*                       04/09/2018         Event: Application for
APPLICATION OF THE             13:16:37           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 04/09/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on 04/09/2018

                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)


1:18-sc-01062-BAH              Entered:           Category: misc
*SEALED*                       04/09/2018         Event: Application for
APPLICATION OF THE             13:14:20           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 04/09/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)


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CASE CLOSED on
04/09/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)

1:18-sc-01063-BAH             Entered:           Category: misc
*SEALED*                      04/09/2018         Event: Application for
APPLICATION OF THE            13:10:27           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                04/09/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
04/09/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-01071-BAH             Entered:           Category: misc
*SEALED*                      04/10/2018         Event: Application for
APPLICATION OF THE            11:49:14           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                04/10/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
04/10/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)

1:18-sc-01072-BAH             Entered:           Category: misc
*SEALED*                      04/10/2018         Event: Application for
APPLICATION OF THE            12:03:13           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                04/10/2018         Document: 1


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ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
04/10/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)

1:18-sc-01077-BAH             Entered:           Category: misc
*SEALED*                      04/10/2018         Event: Application for
APPLICATION OF THE            12:05:40           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                04/10/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
04/10/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-01121-BAH             Entered:           Category: misc
*SEALED*                      04/11/2018         Event: Application for
APPLICATION OF THE            11:50:39           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                04/11/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703 (D)
CASE CLOSED on
04/12/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-01134-BAH             Entered:           Category: misc
*SEALED*                      04/11/2018         Event: Application for
APPLICATION OF THE            16:50:39           Order pursuant to 18


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UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                04/11/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
04/12/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)

1:18-sc-01149-BAH             Entered:           Category: misc
*SEALED*                      04/12/2018         Event: Application for
APPLICATION OF THE            14:29:57           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                04/12/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
04/12/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-01164-BAH             Entered:           Category: misc
*SEALED*                      04/13/2018         Event: Application for
APPLICATION OF THE            14:25:11           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                04/13/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
04/13/2018

                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)




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1:18-sc-01165-BAH                  Entered:           Category: misc
*SEALED*                           04/13/2018         Event: Application for
APPLICATION OF THE                 14:27:12           Order pursuant to 18
UNITED STATES OF                   Filed:             U.S.C. 2703(d)
AMERICA FOR AN                     04/13/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
04/13/2018
                                   APPLICATION for Order pursuant to 18 U.S.C.
                                   2703(d) requiring records and other information to be
                                   provided filed by UNITED STATES OF AMERICA.
                                   (Attachments: # 1 Text of Proposed Order)

1:18-sc-01166-BAH                  Entered:           Category: misc
*SEALED*                           04/13/2018         Event: Application for
APPLICATION OF THE                 14:29:41           Order pursuant to 18
UNITED STATES OF                   Filed:             U.S.C. 2703(d)
AMERICA FOR AN                     04/13/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D) CASE CLOSED on
04/13/2018                         APPLICATION for Order pursuant to 18 U.S.C.
                                   2703(d) requiring records and other information to be
                                   provided filed by UNITED STATES OF AMERICA.
                                   (Attachments: # 1 Text of Proposed Order)

1:18-sc-01167-BAH                  Entered:           Category: misc
*SEALED*                           04/13/2018         Event: Application for
APPLICATION OF THE                 14:31:33           Order pursuant to 18
UNITED STATES OF                   Filed:             U.S.C. 2703(d)
AMERICA FOR AN                     04/13/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
04/13/2018
                                   APPLICATION for Order pursuant to 18 U.S.C.
                                   2703(d) requiring records and other information to be
                                   provided filed by UNITED STATES OF AMERICA.
                                   (Attachments: # 1 Text of Proposed Order)




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1:18-sc-01168-BAH             Entered:           Category: misc
*SEALED*                      04/13/2018         Event: Application for
APPLICATION OF THE            14:33:06           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                04/13/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
04/13/2018

                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-01187-BAH             Entered:           Category: misc
*SEALED*                      04/16/2018         Event: Application for
APPLICATION OF THE            17:31:49           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                04/16/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
04/17/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-01188-BAH             Entered:           Category: misc
*SEALED*                      04/16/2018         Event: Application for
APPLICATION OF THE            17:33:16           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                04/16/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
04/17/2018




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                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-01189-BAH             Entered:           Category: misc
*SEALED*                      04/16/2018         Event: Application for
APPLICATION OF THE            17:34:53           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                04/16/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
04/17/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-01235-BAH             Entered:           Category: misc
*SEALED*                      04/20/2018         Event: Application for
APPLICATION OF THE            13:54:40           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                04/17/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
04/17/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)

1:18-sc-01236-BAH             Entered:           Category: misc
*SEALED*                      04/20/2018         Event: Application for
APPLICATION OF THE            11:57:21           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                04/17/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)


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CASE CLOSED on
04/17/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-01237-BAH             Entered:           Category: misc
*SEALED*                      04/20/2018         Event: Application for
APPLICATION OF THE            11:52:31           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                04/17/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
04/17/2018                    APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-01242-BAH             Entered:           Category: misc
*SEALED*                      04/18/2018         Event: Application for
APPLICATION OF THE            12:41:53           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                04/18/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
04/18/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-01243-BAH             Entered:           Category: misc
*SEALED*                      04/18/2018         Event: Application for
APPLICATION OF THE            12:49:43           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                04/18/2018         Document: 1
ORDER PURSUANT TO


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18 U.S.C. 2703(D)
CASE CLOSED on
04/18/2018
                                APPLICATION for Order pursuant to 18 U.S.C.
                                2703(d) requiring records and other information to be
                                provided filed by UNITED STATES OF AMERICA.
                                (Attachments: # 1 Text of Proposed Order Apple, # 2
                                Text of Proposed Order Google, # 3 Text of Proposed
                                Order Microsoft, # 4 Text of Proposed Order Oath
                                Holdings, # 5 Text of Proposed Order Oath Inc, # 6
                                Text of Proposed Order Twitter)


1:18-sc-01262-BAH               Entered:           Category: misc
*SEALED*                        04/19/2018         Event: Application for
APPLICATION OF THE              12:17:38           Order pursuant to 18
UNITED STATES OF                Filed:             U.S.C. 2703(d)
AMERICA FOR AN                  04/19/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
04/19/2018
                                APPLICATION for Order pursuant to 18 U.S.C.
                                2703(d) requiring records and other information to be
                                provided filed by UNITED STATES OF AMERICA.
                                (Attachments: # 1 Text of Proposed Order)


1:18-sc-01263-BAH               Entered:           Category: misc
*SEALED*                        04/19/2018         Event: Application for
APPLICATION OF THE              12:19:38           Order pursuant to 18
UNITED STATES OF                Filed:             U.S.C. 2703(d)
AMERICA FOR AN                  04/19/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
04/19/2018
                                APPLICATION for Order pursuant to 18 U.S.C.
                                2703(d) requiring records and other information to be
                                provided filed by UNITED STATES OF AMERICA.
                                (Attachments: # 1 Text of Proposed Order)




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1:18-sc-01264-BAH             Entered:           Category: misc
*SEALED*                      04/19/2018         Event: Application for
APPLICATION OF THE            13:40:42           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                04/19/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
04/19/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-01298-BAH             Entered:           Category: misc
*SEALED*                      04/23/2018         Event: Application for
APPLICATION OF THE            14:50:27           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                04/23/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
04/23/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-01299-BAH             Entered:           Category: misc
*SEALED*                      04/23/2018         Event: Application for
APPLICATION OF THE            14:49:03           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                04/23/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
04/23/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring



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                              records and other information to be provided filed by
                              UNITED STATES
                              OF AMERICA. (Attachments: # 1 Text of Proposed
                              Order Apple, # 2
                              Text of Proposed Order Google, # 3 Text of Proposed
                              Order Microsoft, #
                              4 Text of Proposed Order Oath Holdings, # 5 Text of
                              Proposed Order
                              Oath)
1:18-sc-01322-BAH             Entered:           Category: misc
*SEALED*                      04/24/2018         Event: Application for
APPLICATION OF THE            13:06:27           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                04/24/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
04/25/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-01340-BAH             Entered:           Category: misc
*SEALED*                      04/25/2018         Event: Application for
APPLICATION OF THE            14:00:32           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                04/25/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
04/25/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-01348-BAH             Entered:           Category: misc
*SEALED*                      04/25/2018         Event: Application for
APPLICATION OF THE            14:34:04           Order pursuant to 18


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UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 04/25/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
04/26/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)

1:18-sc-01349-BAH              Entered:           Category: misc
*SEALED*                       04/25/2018         Event: Application for
APPLICATION OF THE             14:46:32           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 04/25/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
04/25/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)


1:18-sc-01399-BAH              Entered:           Category: misc
*SEALED*                       04/30/2018         Event: Application for
APPLICATION OF THE             10:45:13           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 04/27/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
04/30/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)


1:18-sc-01400-BAH              Entered:           Category: misc



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*SEALED*                      04/30/2018         Event: Application for
APPLICATION OF THE            10:46:47           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                04/27/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
04/30/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-01401-BAH             Entered:           Category: misc
*SEALED*                      04/30/2018         Event: Application for
APPLICATION OF THE            10:49:57           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                04/27/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
04/30/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-01471-BAH             Entered:           Category: misc
*SEALED*                      05/02/2018         Event: Application for
APPLICATION OF THE            15:10:47           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                05/02/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
05/02/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)



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1:18-sc-01488-BAH              Entered:           Category: misc
*SEALED*                       05/03/2018         Event: Application for
APPLICATION OF THE             14:07:18           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 05/03/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
05/03/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)


1:18-sc-01545-BAH              Entered:           Category: misc
*SEALED*                       05/04/2018         Event: Application for
APPLICATION OF THE             16:58:24           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 05/04/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
05/07/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)


1:18-sc-01547-BAH              Entered:           Category: misc
*SEALED*                       05/04/2018         Event: Application for
APPLICATION OF THE             17:02:00           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 05/04/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on 05/07/2018




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                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-01548-BAH             Entered:           Category: misc
*SEALED*                      05/04/2018         Event: Application for
APPLICATION OF THE            17:08:34           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                05/04/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
05/07/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-01549-BAH             Entered:           Category: misc
*SEALED*                      05/04/2018         Event: Application for
APPLICATION OF THE            17:14:05           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                05/04/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
05/07/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-01562-BAH             Entered:           Category: misc
*SEALED*                      05/07/2018         Event: Application for
APPLICATION OF THE            12:23:35           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                05/07/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)


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CASE CLOSED on
05/07/2018

                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-01563-BAH             Entered:           Category: misc
*SEALED*                      05/07/2018         Event: Application for
APPLICATION OF THE            12:22:13           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                05/07/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
05/07/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-01594-BAH             Entered:           Category: misc
*SEALED*                      05/08/2018         Event: Application for
APPLICATION OF THE            10:22:08           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                05/07/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
05/08/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-01595-BAH             Entered:           Category: misc
*SEALED*                      05/08/2018         Event: Application for
APPLICATION OF THE            10:20:24           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                05/07/2018         Document: 1

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ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
05/08/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)


1:18-sc-01667-BAH              Entered:           Category: misc
*SEALED*                       05/14/2018         Event: Application for
APPLICATION OF THE             14:04:36           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 05/14/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
05/14/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)


1:18-sc-01668-BAH              Entered:           Category: misc
*SEALED*                       05/14/2018         Event: Application for
APPLICATION OF THE             14:07:48           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 05/14/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on 05/14/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)


1:18-sc-01703-BAH              Entered:           Category: misc
*SEALED*                       05/16/2018         Event: Application for
APPLICATION OF THE             11:15:44           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)


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AMERICA FOR AN                 05/16/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
05/16/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)


1:18-sc-01755-BAH              Entered:           Category: misc
*SEALED*                       05/18/2018         Event: Application for
APPLICATION OF THE             10:06:18           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 05/17/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
05/21/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)


1:18-sc-01759-BAH              Entered:           Category: misc
*SEALED*                       05/18/2018         Event: Application for
APPLICATION OF THE             13:12:12           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 05/18/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
05/18/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)


1:18-sc-01788-BAH              Entered:           Category: misc
*SEALED*                       05/21/2018         Event: Application for

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APPLICATION OF THE             16:07:56           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 05/21/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
05/22/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)

1:18-sc-01827-BAH              Entered:           Category: misc
*SEALED*                       05/25/2018         Event: Application for
APPLICATION OF THE             11:54:53           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 05/24/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on 05/14/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)


1:18-sc-01828-BAH              Entered:           Category: misc
*SEALED*                       05/25/2018         Event: Application for
APPLICATION OF THE             12:01:17           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 05/24/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
05/24/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)


1:18-sc-01829-BAH              Entered:           Category: misc


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*SEALED*                      05/25/2018         Event: Application for
APPLICATION OF THE            12:04:31           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                05/24/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
05/24/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-01835-BAH             Entered:           Category: misc
*SEALED*                      05/25/2018         Event: Application for
APPLICATION OF THE            12:07:36           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                05/24/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
05/24/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)

1:18-sc-01836-BAH             Entered:           Category: misc
*SEALED*                      05/25/2018         Event: Application for
APPLICATION OF THE            12:12:44           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                05/24/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
05/24/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)



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1:18-sc-01837-BAH             Entered:           Category: misc
*SEALED*                      05/25/2018         Event: Application for
APPLICATION OF THE            12:15:23           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                05/24/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
05/24/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-01838-BAH             Entered:           Category: misc
*SEALED*                      05/25/2018         Event: Application for
APPLICATION OF THE            12:18:21           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                05/24/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
05/24/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-01839-BAH             Entered:           Category: misc
*SEALED*                      05/25/2018         Event: Application for
APPLICATION OF THE            12:22:15           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                05/24/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
05/24/2018




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                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)


1:18-sc-01840-BAH              Entered:           Category: misc
*SEALED*                       05/25/2018         Event: Application for
APPLICATION OF THE             12:25:24           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 05/24/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on 05/24/2018

                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)


1:18-sc-01860-BAH              Entered:           Category: misc
*SEALED*                       05/30/2018         Event: Application for
APPLICATION OF THE             9:57:37            Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 05/25/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
05/25/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)


1:18-sc-01861-BAH              Entered:           Category: misc
*SEALED*                       05/30/2018         Event: Application for
APPLICATION OF THE             10:00:26           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 05/25/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)


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CASE CLOSED on
05/25/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)


1:18-sc-01862-BAH              Entered:           Category: misc
*SEALED*                       05/30/2018         Event: Application for
APPLICATION OF THE             9:54:55            Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 05/25/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
05/25/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)


1:18-sc-01870-BAH              Entered:           Category: misc
*SEALED*                       05/30/2018         Event: Application for
APPLICATION OF THE             12:20:00           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 05/29/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
05/29/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)


1:18-sc-01871-BAH              Entered:           Category: misc
*SEALED*                       05/30/2018         Event: Application for
APPLICATION OF THE             12:23:57           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 05/29/2018         Document: 1



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ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
05/29/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-01872-BAH             Entered:           Category: misc
*SEALED*                      05/30/2018         Event: Application for
APPLICATION OF THE            12:29:25           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                05/29/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
05/29/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-01873-BAH             Entered:           Category: misc
*SEALED*                      05/30/2018         Event: Application for
APPLICATION OF THE            12:45:46           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                05/29/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
05/29/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-01874-BAH             Entered:           Category: misc
*SEALED*                      05/30/2018         Event: Application for
APPLICATION OF THE            12:42:38           Order pursuant to 18


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UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 05/29/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on 05/29/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)


1:18-sc-01875-BAH              Entered:           Category: misc
*SEALED*                       05/30/2018         Event: Application for
APPLICATION OF THE             12:39:40           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 05/29/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
05/29/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)


1:18-sc-01876-BAH              Entered:           Category: misc
*SEALED*                       05/30/2018         Event: Application for
APPLICATION OF THE             12:35:59           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 05/29/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
05/29/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)


1:18-sc-01877-BAH              Entered:           Category: misc


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*SEALED*                      05/30/2018         Event: Application for
APPLICATION OF THE            12:32:42           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                05/29/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
05/29/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-01887-BAH             Entered:           Category: misc
*SEALED*                      05/30/2018         Event: Application for
APPLICATION OF THE            12:16:51           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                05/29/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
05/29/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-01924-BAH             Entered:           Category: misc
*SEALED*                      06/04/2018         Event: Application for
APPLICATION OF THE            12:18:41           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                05/31/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
05/31/2018




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                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)


1:18-sc-01925-BAH              Entered:           Category: misc
*SEALED*                       06/04/2018         Event: Application for
APPLICATION OF THE             12:13:25           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 05/31/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
05/31/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)


1:18-sc-01926-BAH              Entered:           Category: misc
*SEALED*                       06/04/2018         Event: Application for
APPLICATION OF THE             12:16:02           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 05/31/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
05/31/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)


1:18-sc-01927-BAH              Entered:           Category: misc
*SEALED*                       06/04/2018         Event: Application for
APPLICATION OF THE             12:09:05           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 05/31/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)


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CASE CLOSED on
05/31/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-02193-BAH             Entered:           Category: misc
*SEALED*                      06/18/2018         Event: Application for
APPLICATION OF THE            14:41:59           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                06/18/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
06/18/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-02224-BAH             Entered:           Category: misc
*SEALED*                      06/19/2018         Event: Application for
APPLICATION OF THE            13:51:12           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                06/19/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
06/20/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-02279-BAH             Entered:           Category: misc
*SEALED*                      06/27/2018         Event: Application for
APPLICATION OF THE            11:27:35           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                06/22/2018         Document: 1


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ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
06/25/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-02501-BAH             Entered:           Category: misc
*SEALED*                      07/25/2018         Event: Application for
APPLICATION OF THE            16:10:09           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                07/25/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
07/25/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-02523-BAH             Entered:           Category: misc
*SEALED*                      07/27/2018         Event: Application for
APPLICATION OF THE            14:31:16           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                07/27/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
07/27/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:18-sc-02544-BAH             Entered:           Category: misc
*SEALED*                      07/31/2018         Event: Application for
APPLICATION OF THE            14:12:34           Order pursuant to 18


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UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 07/30/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
07/30/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order 1&1 MAIL,
                               # 2 Text of Proposed Order APPLE, # 3 Text of
                               Proposed Order GOOGLE, # 4 Text of Proposed Order
                               TWITTER)

1:18-sc-02590-BAH              Entered:           Category: misc
*SEALED*                       08/06/2018         Event: Application for
APPLICATION OF THE             16:51:14           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 08/06/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on 08/13/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.
                               (Attachments: # 1 Text of Proposed Order)


1:18-sc-02614-BAH              Entered:           Category: misc
*SEALED*                       08/09/2018         Event: Application for
APPLICATION OF THE             16:29:03           Order pursuant to 18
UNITED STATES OF               Filed:             U.S.C. 2703(d)
AMERICA FOR AN                 08/09/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
08/09/2018
                               APPLICATION for Order pursuant to 18 U.S.C.
                               2703(d) requiring records and other information to be
                               provided filed by UNITED STATES OF AMERICA.


1:18-sc-02713-BAH              Entered:           Category: misc


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*SEALED*                      08/28/2018         Event: Application for
APPLICATION OF THE            11:41:01           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                08/27/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
08/28/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Orders for Google,
                              # 2 Apple, # 3 Microsoft Corporation, and # 4 Twitter)


1:18-sc-02725-BAH             Entered:           Category: misc
*SEALED*                      08/28/2018         Event: Application for
APPLICATION OF THE            13:34:49           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                08/28/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
08/28/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachment: # 1 Text of Proposed Order)


1:18-sc-02890-BAH             Entered:           Category: misc
*SEALED*                      09/24/2018         Event: Application for
APPLICATION OF THE            14:43:48           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                09/24/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703 (D)
CASE CLOSED on
09/24/2018




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                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order, # 2 Text of
                              Proposed Order)
1:18-sc-02911-BAH             Entered:           Category: misc
*SEALED*                      09/26/2018         Event: Application for
APPLICATION OF THE            14:47:48           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                09/26/2018         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703 (D)
CASE CLOSED on
09/26/2018
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachments: # 1 Text of Proposed Order)


1:19-sc-00347-BAH             Entered:           Category: misc
*SEALED*                      02/21/2019         Event: Application for
APPLICATION OF THE            9:36:17            Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                02/21/2019         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on
02/21/2019
                              APPLICATION for Order pursuant to 18 U.S.C.
                              2703(d) requiring records and other information to be
                              provided filed by UNITED STATES OF AMERICA.
                              (Attachment: # 1 Text of Proposed Order)

1:19-sc-00478-BAH             Entered:           Category: misc
*SEALED*                      03/07/2019         Event: Application for
APPLICATION OF THE            13:08:24           Order pursuant to 18
UNITED STATES OF              Filed:             U.S.C. 2703(d)
AMERICA FOR AN                03/07/2019         Document: 1
ORDER PURSUANT TO
18 U.S.C. 2703(D)
CASE CLOSED on


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03/07/2019
                                APPLICATION for Order pursuant to 18 U.S.C.
                                2703(d) requiring records and other information to be
                                provided filed by UNITED STATES OF AMERICA.
                                (Attachments: # 1 Text of Proposed Order for 1&1 Mail
                                & Media, Inc., # 2 Text of Proposed Order Google)




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